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Appendix C
Results of Litigation by J&J Family Companies Supporting Defendants’ Interpretation of “COMPANY”

 

J&J Family Company Document(s)
&
Statement(s) Supporting Defendants’ Interpretation of
“COMPANY”

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Verifled Complaint in Jolmson & Johnson, DePuv
Orthol)aedics, and DePuv Prods., Inc. v. Biomet, lnc. and
Robin T. Barnev, No. C-107-7 (N.J. SuD. Ct.)

“Money damages would not adequately compensate
plaintiffs for the losses and injluies they would suffer,
leaving plaintiffs with no adequate remedy at law. F or
example, if Biomet knew of Bamey’s knowledge about
plaintiffs’ plans in the areas of manufacturing
techniques, research and development, product
development, marketing plans or financial, pricing and
cost information, it would give Biomet a significant and
unfair competitive advantage over plaintiffs.”

Dkt. 15 Ex. 15 at JANREM0113056-57.

Judge Alexander P. Waugh,
Jr.

Temporary restraining order granted
on August 27, 2007. See Dkt. 15 Ex.
14 at 2.

Preliminary injunction granted on
November 2, 2007. See EX. 40 at l.

“For all of these reasons, I
have concluded that the
Plaintiffs have provided
clear and convincing support
for their application for
preliminary injunctive

relief. . .” Dkt. 15 Ex. 14 at
24.

Case settled in June 2008. See Ex.
41 at 6.

 

 

Verifled Complaint in Johnson & Johnson and Cordis
Corz). v. Stentvs, lnc. and Jin S. Park, No. 141-08 (N.J.

Sup. Ct.)

“Overall, Park was involved with 7 patents while at
Cordis. Signiflcantly, Park is also listed as an inventor
on two pending patent applications regarding a new

 

Judge Frank M. Ciuffani

 

Order to show cause and temporary
restraining order entered on July 8,
2008. See Ex. 42 at 4, 6-7.

Consent order enjoining Park from
employment with Stentys entered

 

 

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stent for the treatment of coronary and peripheral
blockages located in bifurcated vessels and arteries: (l)
US 2005/0288771 Al and (2) US 2005/031524 A1.

Pursuant to Paragraph l of the Agreernent_, plaintiffs
own all inventions, patentable or not, developed by
Park while at plaintiffs.”

Dkt. 15 Ex. 9 at JANREM0113321.

on August 7, 2008. See Ex. 43 at 1-
2.

 

Verified Complaint in Johnson & Johnson and Cordis
Corl). v. EV3, Inc., Rhonda Barr, Andrew Fit:z)atrick and
Brendan McKeever, No. 09-06306-GEB (D.N.J.)

“To prevent immediate and irreparable hann, plaintiffs
seek injunctive relief to stop the flagrant pirating of
plaintiffs’ top-performing Sales Representatives by ev3
and to enforce the lndividual Defendants’ covenants not
to compete_, covenants not to Solicit plaintiffs’
customers and common law duties owed to plaintiffs,
including the duty of loyalty. In addition to injunctive
relief, plaintiffs seek an award of damages that they
have sustained or will sustain.”

Dkt. 15 EX. 7 at JANREM0112988.
Brief In Support of Plaintiffs’ Application for Temporarv

Restraining Order and Accelerated Discoveg in Johnson &
Johnson and Cordz`s Corg. v. EV3l lnc.l Rhonda Barr,

 

 

Chief Judge Garrett E. Brown,
Jr.

 

Temporary restraining order entered
on January 4, 2010. See Ex. 44 at
25:20-23 (“[T]he individual
defendants are enjoined from
disclosing, using, disseminating,
lecturing upon or publishing any of
plaintiffs confidential proprietary
trade secret information as defined
in their respective non-compete
agreements.”).

Joint stipulation filed and case
dismissed on December 21, 2010.
See Ex. 45 at 1.

 

 

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Andrew Fit:z)atrick and Brendan McKeever, No. 09-06306-
GEB §D.N.J.[

“The Individual Defendants entered into valid,
enforceable Employee Secrecy, Non-Competition and
Non-Solicitation Agreements (“Agreement”) with
plaintiffs, which contained non-disclosure, non-compete
and non-solicitation covenants

During their tenure at Cordis, the lndividual Defendants
had access to and acquired intimate knowledge
plaintiffs’ customer relationships and confidential,
proprietary and trade secret infonnation, including
pricing, marketing and research and development efforts
and strategies.”

Dkt. 15 EX. 8 at 1.

“First_, the Agreement’s post-employment restrictions
are reasonable, and are narrowly drafted to protect
J&J’s and Cordis ’ legitimate interests in their customer
relationships and confidential_, proprietary and trade
secret infonnation.”

Dkt. 15 Ex. 8 at 12.

 

 

 

 

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J&J Family Company Document(s)

 

 

& Jud e Result
Statement(s) Supporting Defendants’ Interpretation of g
“COMPANY”
Verified Complaint in DePuv Spine, Inc. and Johnson & Judge Allan van Gestel Preliminary injunction granted on

 

Johnson Regenerative Therapeutics} LLC v. Strvker Biotech
LLC and G. Josez)h Ross, No. 07-1464-GLSI (Mass. Sup.

§§

“The Agreement is enforceable by DePuy Spine and
JJRT.”

Dkt. 15 EX. 5 at JANREM0113344.

“At the time that Stryker Biotech hired Ross, it knew
Ross was subject to a non-competition and non-
solicitation agreement Stryker Biotech reviewed the
Agreement in advance of offering to hire Ross. Stryker
Biotech’s hiring of Ross was in knowing violation of
Ross ’s Agreement with JJRT and DePuy Spine.”

Dkt. 15 EX. 5 at JANREM0113345.

Plaintiffs’ Motion for Prelimingg lnjunction, or
Alternativelya for Temporary Restraining Order in DePuy

Spine, Inc. and Johnson & Johnson Regenerative
Theral)eutics, LLC v. Strvker Biotech LLC and G. Josel)h

Rossa No. 07-1464-GLSI §Mass. Sup. Ct.[

“As a former employee of DePuy Spine, Ross is subject
to non-competition and non-solicitation covenants

 

 

Aplil 17, 2007. See Ex. 38 at 7.

Agreement for judgment entered on
December 26, 2007. See Ex. 46 at 6.

 

 

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with DePuy Spine and JJRT_, which prohibit him from
taking employment in a position where he can utilize
confidential information of the Companies to ‘enhance
the use or marketability’ of products which ‘resemble or
compete’ with a product of DePuy Spine or JJRT.
Ross’s Agreement with the Companies also prohibits
Ross from assisting other companies in the solicitation
of customers with whom Ross has had contact in the
twelve months prior to terminating his employment with
DePuy Spine.”

Dkt. 15 Ex. 4 at 2.
Memorandum ln Support of Plaintiffs’ Motion for

Preliminary Injunction, or Alternativelv, for Temporary
Restraining Order in DePuy S\Qinel Inc. and Johnson &
Johnson Regenerative Theraz)eutics, LLC v. Strvker
Biotech LLC and G. Joseph Ross, No. 07-1464-GLSI

jMass. Sup. Ct.[

“The term ‘Company’ is defined to include not only
DePuy Spine but also ‘JOHNSON & JOHNSON and
any of their successors or assigns, purchasers, acquirers,
and any of their existing and future subsidiaries,
divisions or affiliates.’ Agreement, § 1.”

Dkt. 15 EX. 4 at 7.

 

 

 

 

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First Amended Verified Conrplaint in LifeScan, Inc.,
Diabetes Diagnostics, ln€., and Inverness Med. Ltd. v.
Danie/ F. O’Conne// and Aeamatrix, lnc.. No. 2004-02043-
C Mass. Su .Ct.

 

Dkt. 15 EX. 6 at JANREM()115564.

 

Dkt. 15 EX. 6 at JANREM0115569.

 

Judge Wendie I. Gershengorn

 

Ternporary restraining order entered
on May 14, 2004. See Ex. 47 at 2
(“Defendant Daniel F. O’Connell
(‘O’Connell’), his agents, servarrts,
attorneys. and persons in active
concert or participation with hinl.
are temporarily restrained frorn: (i)
working for or providing any
services to defendant AgaMatrix,
lnc. (‘Agarnatrix’); (ii) using or
otherwise disclosing to AgaMatriX,
or any other person or entity,
plaintiffs’ trade secrets and other
proprietary and confidential
information.”).

Case settled in Mar‘ch 2007. See EX.
48 at 14.

 

 

